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  Rro Se 1 {Rev. 12/16)Cbmplaint for a QvS Cbse


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                                                  IMied StatesDsmctOourt
                                                                  for the
                                                                                                                 DEC 12-'22 ^m12:09 USDC Mft
                                                                 District of


                                                                     Division



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                                                                     )                      (to beJiOed in by the Qerk's Ciffke)
     Yl>i^.clScci                  e^r-o    IT                       )
                              Plamt^(s)                              )
(fVrde thefullname ofeach plamt'ffwho isfding this complaint,
ythe names ofalltheplaintffscannotfit in tlm space above,            )      JurylHal: (check one)                         No
please wrde see attached"in the space and attach an additional       )
page wdh thefulllist ofnames.)
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                                                            Of*-"'
                            DefendaHt(s)
(Write thefuU name ofeach defendant who is being sued, ffthe
names ofallthe defendants cannotfit in the space above,please
wrke "see attached"m the space and attach an additionalpage
with theJitlllist ofnames.)



                                                    OMPIAINTfORAaYILOVSE


         The Parties to This Cbmplaint
         A          Hie Flauitifi(s)

                    Provide the information below for each plaintiffnamed in the complaint. Attach additional pages if
                    needed.

                              Name                              T^a;ct5 cq Tfj}ert,
                              Street Address
                              Qtyand County
                              State and Zip Code                 ^ A,
                              Telephone Number                       ^'7i-9lO~^c/'4
                              &mail Address                      Voir(-0                f                     ^r                           ocL




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Pro Se 1 (Rev. 12/16}Cbinptaint for aOvilQtse


          R         Ihe Defendant(s)

                    Provide the mformatk)n below for each defendant named in the complaint, whether the defendant is
an                  individual, a government agency,an organization,or a corporation. For an individual defendant,
                            include the person'sjob or thle f^known). ^ach additional pages ifneeded.
                    Defendant No. 1

                               Name
                               Job or Title Qfknown)
                               Street Aldress
                                                           2                sjl
                              QtyandCbunty                  /l-4f f(\€Prc»J
                              State and Zip Code            2±A
                              Telephone Number
                              E-mail Mdress(ifknown)


                    Defendant No.2
                              Name

                              Job or Title(fknown)
                              Street Aldress
                              Qty and County
                              State and 2Sp Code
                              Telephone Number
                              Email Aidress(fhtown)


                   Defendant No.3
                              Name

                              Job or Title (ifknown)
                             Street Address
                             Qty and County
                             State and Zip Code
                             Telephone Number
                             Emafl Address(fknown)


                  Defendant No.4
                             Name
                             Job or Title       known)
                             Street Address

                             Qty and County
                             State and Zp Code
                             Telephone Number



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                           &mail Address(ifknown)


E       Bisis forJurisdiction


        Fsderal courts are courts oflimited jurisdrction(limited power). Generally,only two types ofcases can be
        heard in federal court: cases involvhg a federal questbn and cases involving diversity ofcitizenship ofthe
        parties. Older 28 U.S.C § 1331,a case arismg under the Oiited States Constitution or federal laws or treaties
        is a federal question case. Older 28 U.SiC § 1332,a case in which a citizen ofone State sues a citizen of
        another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. Ih a
        diversity ofcitizenship case, no defendant maybe a citizen ofthe same State as any plaintiff.

        What kthe basis for federal courtjurisdiction? (check aUthat apply)
             ^^^Rderalquestion                            Q Oversity ofcitizenship

        Eli out the paragraphs in this section that apply to this case.

        A.       Vthe Basis forJbrisdiction h a ifoderal Question

                 list the specific federal statutes,federal treaties,and/or protipions ofthe Oiited States Constitution
that             are at feme in this case,                gf U
                                                          C^nSh                      <


       R         ffthe Basis forJurisdiction Is Diveisity ofQtizenship

                 1.       Ihe Plaintiffs)

                          a.       Ifthe plaintiffis an individual
                                   Ihe plaintiff (name)                                               ,is a citizen ofthe
                                   State of                                                       .


                          b.       Etheplaintiffis a corporation
                                   Ihe plaintiff (name)                                               ,is incorporated
                                   under the laws ofthe State of(name)
                                   and has its principal place ofbusiness in the State of(name)




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                               (Ifmore than one plaint^is named in the complaint, attach an additiotipt^age providing the
                               same informationforeach additionalplaint^.)

                     2.        Ihe Defendants)

                               a.        ]fthe defendant is an individual

                                         The defendant, (name)                                          ,is a citizen of
                                         the State of(name)                  y/                     . O is a citizen of
                                         (foreign nation)


                               b.        Ifthe defendant is a cora^ration
                                         Ihe defendant, (nat^                                       ,is incorporated under
                                         the laws ofthe Sme of(name)                                          ,and has its
                                         principal plai^fbusiness in the State of(name)
                                         Or is inconaforated under the laws offoreign nation)
                                         and ha^s principal place ofbusiness in(name)

                              (ffmore tmn one defendant is named in the complaint, attach an additionalpage providing the
                              same informationforeach additionaldefendant.)

                              Ihe^^ount in Cbntroversy

                             le amount in controversy-^he amount the plaintiffclaims the defendant owes or the amount
at                        (stake-is more than $75,000,not counting interest and costs ofcourt, because (explain):




lOL      Statement ofGaim

         Write a short and plain statement ofthe claim. Do not make legal arguments. State as brfe%as possible the
         fects showing that each plaintiffis entitled to the damages or other reliefsought. State how each defendant
was      involved and what each defendant did that caused the plaintiffharm or violated the plaintiffs rights, including
         the dates and places ofthat involvement or conduct. Ifmore than one claim is asserted, number each claim
and      write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages ifneeded.




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I, Francisco Severe Torres, Pro Se, here by legally claim the following:

1. Fuller HospitaKs Treatment Team, and the rest of the Defendant(s) referenced in the claim(s), who
handled my case at Fuller Hospital were spiritually/ religiously discriminatory (discriminatory) and
negligent.

2. 1 legally claim that. My Vegan requirements on a dietary, and spiritual level, were religiously
discriminated against.

3. Therefore, I legally claim that, I am suing The Defendant(s){I only know the name, of one of. The
Defendant(s))})for all legal claim(s), based on the initial action, and the failure to correct the action
throughout my stay.

4.1 legally claim that, I require pain and suffering compensation in the amount of: $30,000,000.00 USD -
$500,000,000.00 USD from the Hospital (Fuller) who employs them.

    a. Seeing that, they had time to correct the matter(about 37-38 days),from the first incident on
       the first day, all the way through,to the last day, where the legally claimed religious
       discrimination, and negligence; was still happening [all the time, based on food denial, all legal
        claim(s)], first day-the last].

5. 1 am legally claiming that. The Defendant(s) did not correct the problem, or even attempt to the entire
time.


6. 1 legally claim that, and I request that the employees be held accountable for their actions with
whatever punishment fits the legal claim(s) made.

    a. And that the Hospital {see full list for legal claim(s)} settles the requested damages with me [by
any money relocation method(s) necessary].

7. 1 legally claim that. All of the Defendants(s) who worked with my case, if even only once, and knew
that I was legally claiming religious discrimination and neglect: As I threatened to sue the Defendant(s),
as soon as my request(s) were denied, and not until after the first 5 legally claimed direct sabotages of
my diet.
a. This was done by serving me Non-Vegan food, labeled and claimed to be Vegan, by the Staff
members who served it to Me on those occasions.


8.1 legally claim that,the rate of gossip in a work place (Applied to Fuller Hospital), multiplied by the
rarity of My'Self [diet and spirituality], divided by the the probability of human error(gossip, and abuse
of power [intentionally, unintentionally, or under order(s)to]) holds all the Defendant(s)of Fuller
Hospital, and every Defendant(s), based upon the amount of time served, responsible.

    a. But, only If, they did not stand up for Me.
    b. It would hold Whoever,among them,responsible for my legal claim(s) against The Defendant(s')
       representative monetary resources...for such matters.,to correct this matter.
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          I

9. 1 am legally claiming that, I told upwards of 30 staff member(s),[at least six of that number were all
different nurses] that, I was deficient In Vegan proteln{s) and fat{s) by sixty to seventy grams a day, and
2.5-4.50Z (fat(s))

    a. And,that. It was making me sick (with Inflammation, pain, nausea, and eventually weight gain).
    b. I legally claim that, I mentioned It (sickness), also because of a ^'drastic lack of balance In my
        diet".
    c. And, because my needs were unmet for so long (2"'' -3^'' week).
    d. This was to one pair of over night Defendant(s)[2 Women,offered me Advil, I refused].
    e. It was on one of those, 2-3 nights ^ that I woke up with, an extreme Inflammation attack to my
       feet and a point down from my shins(%).

10. 1 legally claim that these are all symptoms of health rlsk{bodlly functlon([']s) levels of: dietary
deficiencies/starvation / malnourishment.

11. 1 legally claim that, the defendant(s)Involved, should have resigned... with any knowledge of the
pain, and suffering, that I was being subjected to.

12. 1 legally claim that, the legal clalm(s) were a form of torture, on /to a non-specific level.

13. 1 am legally claiming that, dietary discrimination Is also spiritual / religious discrimination, and
negligence by the Defendant(s).

14.1 am legally claiming that I went Into the situation as a triathlete trainer,(1^ yr.):
a. That, I mentioned It to the staff, and I legally claim that It was Ignored along with My need for My
health(care)-level- acknowledgment of My lack of time for community time.
b.l legally claim that, all Doctors will legally claim that food Intake can effect overall health,for the
worse, rather than the better(applied to my legal clalm(s)).

15. 1 am legally claiming that, the hinderance of my release was based on (14'^community time),
  a. So I am legally claiming that, this Is connected to my overall legal claim(s) as well.

16. 1 legally claim that, I Implemented a similar program of Isometric exercises to mirror/ replace my
cardiovascular training.
a. Which took an extra 1.5-2 hours a day to do.

17. 1 legally claim that, my actions(16) were done based upon the knowledge of how Important It Is to
do this; In order to avoid a serious cardiovascular risk (damage), of not training on the same level,
especially when one Is detained. Incarcerated, or quarantined.

18. 1 legally claim that, I stated this Information to almost every staff member I came across,(most of
the staff encountered, 20-25) even verbalized something about It [plain mentions,some posltlvlty,
some Impression], at least once.

19. 1 legally claim that,(18, statements, about,[17,16]), supports my legal clalm(s) of negligence, and
religious discrimination.

20. 1 legally claim that, I worked out, and stretched In my room only.
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 21.1 legally claim that my room Is where they would be running checks, and,just like In all the other
 patients' rooms, checks were almost every 10-15 minutes or less.

22. 1 also legally claim that. The Defendant(s)are responsible for the overall outcome, because nothing
was done to correct my legally claimed dietary deficiency verbally In or out of dietary/(dietitians')
councll(2) as well.

23. 1 legally claim that the Treatment Team,the staff Involved, and the Hospital (Defendant[s]) all failed
to stand up for my Religious Liberty.

    a. As, It   Is guaranteed by The First Amendment of The US Constitution as well.

24. 1 legally claim that. My use and scripting of the term "Defendant(s)" covers the possibility that only
the Person In charge ofthe entire program at/of Fuller Hospital Is guilty of My legally claimed neglect/
rellglous-splrltual discrimination, or any number of Defendant(s)that It may apply to.

a. And, or even If, It was an off Site {decision / Group {sing. pi.}.

25. 1 legally claim that, I made a food list of approved foods, that would suffice my need(s).

26. 1 legally claim that I have evidence(documents and journals), that proves this legal claim as a whole.

27.1 legally claim that My Vegan birthdate Is 04-09-2019.

28. 1 legally claim that, I have been keeping a workout/ diet (calories, sugars, salts, fats, saturated fats,
and protein)/oz Intake [{food scale, all food and drink}]]/ body weight checks #body scale, 5-6 times a
day# journal '^slnce mid-winter to early spring of 2016.

   a. I legally claim that, I physically have all ofthose notebooks,"journals",for proof of work,and or
       evidence.


29. 1 legally claim that. The Defendant(s) knew this through verbal legal clalm(s) and dally routlne(s).(26)
a. I legally claim that, I verbally legally claimed that I was my own defense attorney (Pro Se)[both
Hospitals]
b. I proceeded to defend myself, but, an Esquire was offered, and sent to summarize the possible
outcomes,and charges( but not until the same day,5 minutes or less, before the time slot In Court.

30. 1 legally claim that,the level of knowledge that The Defendant(s) had about this situation, may have
differed among them.

  a. I also legally claim that, without defending my case, they,(The Defendant(s)are as equally
responsible as the next Defendant(s).

31. 1 legally claim that,the list (23), was Ignored, even though a copy of It was claimed to be In my file by
representatives of the Hospital.
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     a. As, I had the Defendant(s) copy: multiple requests, statements to defend my name,and
        documents to state my needs.
     b. These hand written record(s) were said to be kept In my files as a means of an official
        documentation; or record.
     c. That was my Intention (b).


32.1 legally claim that. In My Intake meeting with Dr. Thomas Psychiatrist (where everything about Your
basic needs/ allergies, and who You are to Yourself(religion, nicknames)are talked about; that Is when I
stated, what Is mentioned, about my spiritual beliefs, and strict dietary restrictions.

33. 1 legally claim that the member of the treatment team who I only knew only as "Dr. Thomas":Title:
Physiatrist" was negligent and discriminatory,towards my, as I will call them,'Vegan Rights",
a. As, I now ask that the court acknowledges,to Myself, and the Court, the meaning of term of Vegan
Rights' be defined as the protection /strict dietary requirements, and Individual spirituality,just as If It
was Religious Liberty.

34. 1 legally claim that. My Vegan Rights' are My religious rights.

35. 1 legally claim that,the Defendant(s)are also guilty of negligence, due to the violation of my diet, to
a level of a form of starvation / deprivation.

36.1 legally claim that,the Defendant(s) gave me no choice and forced me to supplement my diet with
Honey Grams which are not Vegan, wheat products (violated gluten free request)[due to a lack of
supplies and variety] and processed sugar products, which are processed with Cow or Steer bones. If I
did not violate my religious beliefs, I could have died based on scientific fact.

37. 1 legally claim that, my spirituality was not shook by (36).

a. I legally claim that,the Defendant(s) would have made me suffer, no matter what path I chose.

38.1 legally claim that, my opposition to non-VeganIsm, and My Self, accepted the sacrifice made by the
Cows, and or Steers used to make the white sugar that kept me alive.

39. 1 legally claim that(36) was based upon the Self revelation that. They(Non -Vegans)could get away
with killing Animals, but I could not let them get away with killing me [the Defendant(s)].

40. 1 legally claim that, with the attitude /actlon(s) that the Defendant(s) were displaying, I deducted
that, I would have had Non- Vegan food put Into a feeding tube If It came to that.

    a. I legally claim that, I did It to avoid the risk of a "non compliance" and to shorten my stay.
    b. And,In honor of all the caged Generations of slaughtered Families of Innocent Animals. Who,
        are still dying today, and every day, until people stop killing them, wild or not.

41. 1 legally claim that I have never been suicidal, or homicidal.                                         ,
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 42. 1 legally claim that, based off of what I told Dr. Thomas that,"my diet ties directly into my
 spirituality" and,that I practice Aparigraha, and Ahimsa, which is non attachment^ which I view as non
 violent (individual spirituality) and,that is how I explained it to the doctor.

 a. because I was being detained for charges that they never made clear to me to this day.

  b. I believe they mentioned attempted murder at one point. My legal claim on that matter is, that they
 did not tell me with what my detention was over and or about.

  c.The Defendant(s) legally claimed in my (legal verbal request(s)(6-10)for an off site hearing)actual
 hearing [canceled the day of the day before] that they were trying to make Me a Ward ofthe Facility.

43. 1 legally claim that, I applied both Aparigraha and Ahimsa,to all of my legal claims.

44. 1 legally claim that,this(42) is part of my religious discrimination, and negligence claim(s) against The
Defendant(s).
a. Ahimsa literally means non violence, so, again, I was using it to state my case to the Doctor at the
intake appointment.

45. 1 legally claim that,the prosecution, and it's investigators, violated my 4*'' amendment rights at my
court decision with /to the judge (by referencing a dream defense exercise against evil entities no
matter whatform they take, written on a white board).

    a. they presented it as evidence, and the Judge still agreed that I be held captive, even though I
       legally claimed (to the Judge {Her}) it violated my Fourth Amendment right(s).

    b. Because My Room (location of white board), has a latch with a lock (interior), plus, it is my only
       personal space seeing that, I am still technically homeless(18 years old -present day). b.And,
         because, it was a dream defense exercise (scientific).

46. 1 legally claim that,this language that I used (42,43,44), was to also explain to the Defendant(s)
about why it was so important that My Vegan diet could not be compromised,and the importance of
balance of diet.


47. 1 legally claim that,the Defendant(s) intentionally served me Cow Butter on 2 occasions(the same
side dish twice for one individual dinner).

a. Which, I may have viewed as a mistake at first, but they also had me quarantined from using the
cafeteria, as part of'new patient protocol', in which, cafeteria rights, are only awarded to patients based
on an ok from the patient's treatment team.

b.But, what I'm about to explain next, makes me legally claim that this was also part of the Defendant(s')
violations of my'Vegan Rights'.

48. 1 legally claim that,the Defendant(s) where intentionally negligent, and, or, spiritually discriminatory,
and that they fully intended and conspired against me [see claims], by serving me Udi's bread
product(s).
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   a. The Defendant(s)called, and even labeled them "Vegan"[with "Vegan" written for 3 different
meals,{Udi's}, %3 space to go container(s). I could not tell that they were not Vegan. But, my digestive
system suffered from congestion.

49. 1 legally claim that, I legally claimed to the Defendant(s)that, "I did not eat imitation 'Vegan Meat"
because it was against My Spirituality"from the discovery of it being the only protein option(s)status on
a public menu of the only'Vegan"(implied non-Vegan due to meat flavor) protein option(s) available.

50. 1 legally claim that, I tried a bite of it(Vegan Sausage'), to humor the staff member. It was because,
the Defendant(s) were already discriminating against me.

    a. I legally claim that I spit it out into the container on my own free will, as a sign if peaceful
         protest.
     b. And,to tell the Defendant who was present, that it was,"gross and it tasted like meat", and I
        restated that it was,"Against my religion to not give me other option(s)",to the Defendant(s).

51. 1 legally claim that, this was my Constitutional First Amendment Right to peacefully protest(48,,
without questioning My Spirituality's claim; to support My legal claim that I never contradicted My
Spirituality.

52. 1 legally claim that Vegan should legally be disallowed from a describing anything with an intended /
unintended and or advertised 'Meat'flavor.


53.1 legally claim that, I tried the meat flavored non-Meat products, out of the chance, of accusations of
non-compliance on one separate occasion; a ('Vegan Burger') as well as the first.

   a. I legally claim that, I spit It(Vegan-Meat)out both times.
   b. And I legally claim (49)for this separate instance too.

54.1 legally claim that, I know that any recorded form of non-compliance by a treatment team,or staff
can keep You from being released based on knowledge of how the system works(This was My,Z"** false
accusation detainment in a Mental Hospital).

55. 1 legally claim that, my bodies'function(s) became congested when I ate the Defendant(s) Non Vegan
food (Udi's claimed by staff to not be Udi's, only Vegan, and because, it was gluten free too), based on
scientific fact.


    a. I know that this is also how my body would react based on simple recollection (of pre-Vegan
conversion), and scientific fact.

56. 1 legally claim that, I thought it (digestive congestion) was due to my already deficient levels of
proteins, and fats mostly/ as well.

57. 1 legally claim that, I did not find out that I was fed three non vegan products that I was already
familiar (Udi's) with, until it was too late. I ate 3(2 bagel-donut hybrids and a muffin [three separate
meals]).
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                   (5"
58. 1 legally claim that, I found out(55, Udl's)through a Woman (Defendant, possible MHW)through a,
''she just so happened to let me know" the brand in casual conversation with Me, i stopped her and toid
her,"that brand is not Vegan" then. She said that she thought she was sure,so that was the last time I
ate any thing like that.

  a. It was confirmed through one of the younger Caucasian Male Chefs,that it was Udi's' products(as
     well) which I knew where Non Vegan,at which, I told him that,'They were Non-Vegan" and,that,
     "He was the first Person to show (the packaging)and the second Person tell me that it was Udi's'
     products".

59. 1 legally claim that, this event(56) happened at the fourth or fifth day(Woman)and at My first time
in the cafeteria (Male).

60. 1 legally claim that, a gluten free diet[which I started at the same time that I went vegan (04-09-
2019), with the exception of one to six 1 once serving(s) sizes a once a week; which I legally claim is for
dietary variety, disease prevention, and economic reasons.

61. 1 legally claim that, I was left vitamin sick, where only non-vegan multi- vitamins where being
provided.

62. 1 legally claim that, in my evidence,that I have proof of a list of my daily vitamin regiment which is
around 9 supplements.

63. 1 legally claim that,the Defendant(s) where Spiritually discriminatory and negligent for not providing
Me with any number of vitamins that My Vegan diet requires; based on my training regiment, and of
which, are necessary vitamins like iron.

    a. Which ^, I legally claim is essential for a vegan diet,sickeness will ensue without it.
    b. I legally claim that, I became sick, and suffered physically from the lack of vitamins, and
       supplements.

64. 1 legally claim this statement(61), supports my case of negligence and spiritual discrimination against
Me, My diet, and My spiritually by The Defendant(s).

65. 1 legally claim that, I collect SSI/SSDI insurance,for an Auto accident, which has left Me in life slowing
scale of pain.

66.1 legally claim that, I am still fully functional, even though my legally claimed pain, is on such a high
level.


67. 1 legally claim that, I was awarded SSI/SSDI Insurance based on My legal claim of a / My Professional
Athletic Career.


68. 1 legally claim that, I have ran a 3 minute 45 second mile before my injury.

69. 1 legally claim that,this(66)supports of My legal claim of being a Professional Athlete.
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                        Ic
70. 1 legally claim that, in the time of 2011-2013,1 was being openly scouted by numerous Athletic
 Associations.


71.1 legally claim this (68), based on local gossip,that I heard about myself in those days.

72. 1 also legally claim that, I was invited to try out for a partially professional American Football league
in those days 2011-2013(Fitchburg Based).

73. 1 legally claim that I was denied Almond Milk, upon numerous verbal request(s)[7](throughout)and
one official written request.

  a. I legally claim that, I checked in the fridge every day as part of a peaceful protest, by stating, every
time... "I guess there still isn't any Almond Milk for Me again today"

74. 1 legally claim that part of My physical recovery training is part of a type of governmental job.

   a. That is, of supporting health and fitness, and physical approaches to handicapping injuries, in
exchange forSSI/SSDI.

75.1 legally claim that, this(72), is the case that I presented before the SSI/SSDI Judge.

76. 1 legally claim that, I denied all claimed or legal claim(s), of mental health issues in that hearing.

77. 1 legally claim that, I have always legally claimed that, I have never had mental health issues.

78.1 legally claim that, I have never agreed with any diagnoses of mental health disease, or diseases on
any day.

79. 1 legally claim that, I specifically tried to work with the Defendant(s) based on their supplies, which
they claimed that they had.

80.1 legally claim that, I witnessed Nurses not using gioves,to serve medication, on at least four
occasions(four Nurses) (date).

81. 1 legally claim that, I only noticed it for myself the amount of times which I legally claim it happened.
(80)

82. 1 legally claim that, these legally claimed incidences where connected to My overall legal claim(s)
based on the fact, that I only witnessed My own medication being served to Me.

83. 1 legally claim that, I was denied flip flops for over 2 weeks where every other patient had them for
the showers.


84. 1 legally claim that, I was kept from flossing the entire time that I was there.

   a. I legally claim that, I requested to floss verbally, and that, the request was denied twice verbally...
but supervised shaving was allowed.
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                             I7
 85. 1 legally claim that, I was denied a tooth brush kit for four days In a row.

 86. 1 legally claim the Defendant(s) were negligent.

 a. I legally claim that this legal claim (83)supports my case.

 b. I legally claim that, the Defendant(s)are responsible for the lack of tooth care... for those days that I
 went without It.



87. 1 legally claim that, I purchased Rabbit Fur Head
Coverings, in 2020, as a gift for a Non-Vegan person.

88. 1 legally claim that, I bought two separate Ones for Myself.

89. 1 legally claim that, In the'War of Man on Animals', It would be hollowed ground around me.
Where a Non-Vegan purchaser would disappointed the spirt of the dead Rabbit(s).

      a. It was my mistake to purchase one for a Non-Vegan Person(l live with)[I just wanted to bring
         One more Rabbit(s) closer to a Home with the little extra money I had].

90. 1 legally claim that I brought the Rabbits "Home" because It is a War(87), and, to eventually burry
Them, and lay Them to rest in the ground, or just to honor Them (legal claim(s).

91. 1 legally claim that, I chose the Ushanka Style for the head coverings that I bought.

92. 1 legally claim that, I do not affiliate with any opposition to the The United States of America.

93. 1 legally claim that. The Head Coverings were bought, and used as well as, or intended to to put
The Rabbit(s) on a higher lever.

a. And, to spend time with Them, and Their Sprits, and bring them places; so they could see things
that they would have never seen; as another way to honor them, and in a way, make them happy
(Individual spirituality).

94. 1 legally claim that, I mentioned this to anyone who collected My Head Covering (mentioned).

      a. I legally claim patients where allowed to wear jewelry.

95. 1 legally claim that, "I lost a Friend when I lost that Head Covering".

96. 1 legally claim that The Defendant(s) lost My Head Covering, as I legally claim that they mlsfiled
It.

97. 1 legally claim that. The Defendant(s) have not cooperated with several of my attempts to retrieve
it.


98. 1 legally claim that. The Defendant(s) have never retumed at least four phone calls about my
Head Covering.
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                            (g
99. 1 legally claim, based on My legal claim(s), that,(96)([attempts to communicate, with The
Defendant(s)]) would have resulted in a waste of My time, and a dead end.

 100. 1 legally claim that, this legal claim (97) is based on a closed case that I have with WRCH of
Worcester MA.[Those Defendant(s)] gave me a run around for more than 6 attempts to
communicate with them.

101. 1 legally claim that. The Constable even stated that they were difficult to deal with, and He gave
off the vibe that they were being generally unhelpful.

102. 1 legally claim that, this (98) has kept me from proving if the Defendant(s) are a Government
Entity.

103. 1 legally claim that if the Defendant(s) are a Government Entity, then, I legally claim that they
have liability insurance for matters such as mine.

104. 1 legally claim that I can sue the Defendant(s) based on (100)[liability insurance] and that the
11*'' Amendment of the Constitution does not protect the Defendant(s)from being sued.

a. For, violations of the 4"' Amendment, and all my legal claim(s) that apply.

b.l legally claim that. Their purchase of liability insurance waives their sovereignty based on the
Constitutional phrase that "All Men are created equal". If The Defendant(s) purchase this insurance
for Their Employees, then Their Forensics Patients, such as I, or any Person, should be afforded a
sum of money from that liability insurance. If, like Me,they have evidence and legal claims that
match up, and prove it beyond a reasonable doubt.

c. I do My job, and everything about My lifestyle is done for scientific research and to preserve my
Faith. The 1®' Amendment of the Constitution, to Me, preserves my right to not be singled out and
treated the way that I was treated (poorly), while every other patient had more than 3-6 more
choices, than I did, per meal.

105. I legally claim that, "I request the State or Federal, or State or Federal Entity consent to suif in
this Federal court case, based upon the severity of the legal claim(s), the amount of time that it
happened, and due to Their overall liability in this matter as well.

a.It is Their responsibility to correct the matter to Me, and to preserve the
'piece of mind' and Right(s) of the General Public.

106. 1 legally request, the Court make these request(s)for Me, to the proper authority, on my behalf
(If needed).

    a. I legally claim Governmental non- cooperation,WRCH / the Defendant(s)(If govemment is
       involved, or represents / was the final word on all my legal claim(s) against // time served at
       Fuller Hospital).
    b. I now ask, that the court recognise that, the Government( State and or Federal) be charged
       as the Defendant(s), if They have involvement.

107. If the Defendant(s) represent a Government facility, then, I Legally request that, the court
contacts the proper channel for Me on that matter.

108. 1 legally claim that, if the Defendant(s) are a Private, State or Federal Entity, that, the
corresponding, or any related Treasuries or Owned Banks or owned bank parts be held responsible
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                                       I
|4|. And that, ^ ^ They ^ pay any remainder of the ordered settlement, or settlement(s), in the case
that, the liability insurance can not cover the court order / out of Court settlement, if the decision in
My favor, or the Defendant(s) request settlement talk(s) due to Court Prompt.

109. 1 legally claim that, an abuse of sovereignty is tyranny(if government), and it should be
penalized with a monetary settlement by the Judge Hillman (and The Feral Court System), or
outside of court with negotiation.

110. 1 legally claim that, My individual Spirituality felt better about having the pieces of an animal to
honor Them '^Rabbits^.

    a. And, because it is unnecessary killing to thousands of years(4,022 years) of Animal(s), it is
       abuse, disrespect, and murder, and it represents countless genocides since the start of
        Animals and Humans.
   b. It is part of a planned peaceful protest that I was carrying out.
   c. I legally claim under penalty of loss of settlement (full amount), that I wili never buy fur or non
      vegan clothes again.

111. 1 legaily claim that, I acknowledge the separation of church and state.

112. 1 legally claim that, in the Bible God even said 'I give You dominion over Animals'
(paraphrased).

113. 1 legally claim that, dominion as I interpret it, means control, but control means mastery as I
legally claim.

    a. This is also part of my personal spirituality.
    b. I also legally claim that, mastery gives you no right to kill a living thing unless it is trying to kill
       you (self defense).

114. 1 legally claim that wool is only Vegan only if the animal care methods for cold sheep exist.

  a. So, I legally claim, that is part of My Spirituality. If Sheep care isn't up to standard(s) then, I
     would have to legally claim that, I would not purchase wool from those known wool dealers.

115. 1 legally claim that, with proper resources, i would go to the fullest extent to be 100 percent
dedicated in the ways of knowledge, on subject matter(s) such as ^^>114).

116. 1 legally claim that, I will spread knowledge that I gain on important Vegan matters on open
networks, for the General Public.

117. 1 legally claim that, I have no friends besides Animals.

118. 1 legally claim that, I am ok with that(117).

119. 1 iegaliy claim that, Ali my legal claim(s) are true *Et all*.

120. 1 legally claim that, I am a responsible, and respectable practicer of: citizenship in the
community, and citizenship of the nation, and citizenship of the word.

121. 1 iegaliy claim that, I am an Eagle Scout(BSA).
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                                     'Z           o C ^^
 122. 1 legally claim that, a favorable decision on My behalf, will help me be prepared for the future of
 my spine injury, however it goes.

 123. 1 legally claim that, there are signs of degeneration in my spine, claimed by Doctors; based off
ofMRIs.

 124. 1 legally claim this makes my level of (all types[non- mental health related]), of care
 unpredictable.

 125. 1 legally claim that, a settlement in that range |4|, that I have requested, will be the only thing
securing My uncertain future.

126. 1 legally claim that, the dollar amount, to be determined by the Court(based of the range |4i
requested above), and, I ask that the Court recognize the lowest number, represents what, I think,
any person who suffers like I did, be given minimally[or to anyone with a similar single claim or
 multiple claim(s) based case, ^related matter+.

127. 1 legally claim that, the Defendant(s) also violated my Civil rights (social freedom and equality).

128. 1 legally claim (127) because, I have already legally claimed unequal treatment compared to
Non-Vegan Patients.

129. 1 legally claim that, Non- Vegan patients had access to 2x-3x more caloric options than I did.

130. 1 legally claim that it took 2-3 weeks to obtain an approval for my regular Vegan Protein (Vega)
(It it the only vegan option that I technically have because I shop at BJ'S to save money).
a. (Vega) And the Person who I live with had no extra money, because She only works a (lower
salary)job to keep a roof over hers and my head. I am a percentage of handicapped (physically),
and she believes in my fitness recovery joumey.
b. "Ensure protein drink" was provided to Non Vegan patients by a simple request.

131. 1 legally claim that, the Defendant(s), had resources,(money in their budget or emergency
funds), to plan Me a special menu, to fit My personal needs... but. They did not.

132. 1 legally claim that, my pain level makes it impossible to see Myself doing anything, but, taking
care of Myself, until I test out to be just as strong as before.

133. 1 legally claim that, I have only ever seen progress from every point(11 times) of a restarting,
(due to injury).

134. 1 legally claim that, this training lifestyle, in my case, should always be seen as a benefit to the
community.

    a. I have always run outside when I have had no access to a treadmill / My Professional
       amount of outdoor run-days in all conditions promotes the publics job of: doing Your level of
       cardio, to the maximum healthy amount, as many days a year as You can. As, it was always
       prescribed by, the Unites States Govemment.

135. 1 legally claim that, the General Public could easily find this public spoken knowledge of all my
training laurels(7 days a week— increasing and decreasing and changing factors — My entire
life)[Word of Mouth].
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136. 1 legally claim that, the Defendant's legal clalm(s) against Me in the commitment hearing, over
webcam, were malicious, and frivolous.

137. 1 legally claim that, the knowledge of the Defendant(s) trying to commit Me,"FOR THE
DURATION OF MY LIFE", was withheld from Me until the Court Date.

138. 1 legally claim that, the Defendant(s) had no knowledge given to me, of, or if, the medication I
was ordered to take, was Vegan or not.

139. 1 legally claim that, the community time requirement, is a monetary (withholding / rewarding)
fulfilment device, which is implemented by a cookie cutter view of how mental health should be
treated.

    a. It is unrealistic and violation of Civil Rights,(introvert rights, mental health rights, physical
       health rights,[Covid-19 Rights], and just individual Adult or Non Adult Personal Beliefs,
       choice, and a disregard of My free will to choose to not partake {based on Me and Scientific
       facts Jmmune system strengthening^.
    b. I legally claim that I am a life long 'common sicknesses' non-vaccinated since, 7-8 years old,
       No flu shot ever \, as my own decision when I became a Naturalist, I take full responsibility
       for my own actions =lung disabilities, fact(s)= '^COVID-19'^}.

140. 1 am legally claiming that, the Insurance Company(ies) related to My legal claim(s), should all
be recognised as Defendant(s) as well,(based on 139) Medical Providers, Defendant(s) are torturing
Medical Patients by not letting those among them (Me,[And, an investigated, confirmed,(1) Other
Patient, Serving more than 4-5 months; I saw his extensive file, and I asked the Defendant(s) how
much time he had done.

    a. She broke Protocol by letting Me in on a more exact figure which, I legally claim that I do not
        remember.
    b. Based on my knowledge of how 'Community Time' and His'^ infamous absence(s)from the
       Community time program, was put into my mental notes.
    c. There may have been other patients suffering from the same type of Rights Violations.
    d. But, I did not have time to investigate Them.] based on this experience).

141. 1 legally claim that, I have asthma, and the Defendants turned down my request for the / My
natural method of asthma control of: Turmeric .4 oz a day then, blueberries (the last 11 years) and
caffeine in the form of green tea[4 years] where, all patients had access to (Coca Cola brand cola)
and Decaffeinated coffee.

142. 1 legally claim that the Defendant(s) did not allow cafe drinks in the units.

a. With an exception only being made for 1 patient,(decaffeinated coffee), decaffeinated and Coca-
Cola brand cola, both have trace/ full serving amounts of caffeine, so even if I did want to limit my
suffering, my request, based on the Coca-Cola Brand cola was denied anyway, so I legally claim
that, this put me at a higher risk for injury or death by the Defendant(s).

b. And, I legally claim this denial was especially malicious(138, asthmatic torcher / exacerbation,
daily routine legal claim[s))]).

143. 1 legally claim that, the Defendant(s) openly scoffed at my situation at least 1 time verbally,
specifically mentioning, "feeding him Non-Vegan food, and calling it Vegan Food any time that They
wanf.
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                                 'Z^ oi
144. 1 legally claim that, I had to eat banana peels to decongest my bowels.

145. 1 legally claim that, I saw the same chef(see: Udi's) drop a banana in the back of the kitchen
and put it back in the banana box.

146. 1 legally claim that, I stopped eating the banana peals, after that.

147. 1 legally claim that, the banana peels where helping Me to digest food better.

148. 1 legally claim that, I did not ask the (Chefs) if they washed the fruit, because based on the level
of professionalism, towards Me, by the Defendant(s)(et. all'^),[what I deduct was a partial majority,
or more, based on observation], I deducted they would lie to me anyway.

149. 1 legally claim that, I had no access to wash My fruit besides in a bathroom, and no fruit grade
soap to use. I only wiped the fruits off with paper towels and cloth.

  a. I was so congested (because I had to eat extra carbohydrates, to cover My,fats and protein
deficiency.

 b. I legally claim that, I ate orange rinds too until (145), just incase they did not wash the apples and
oranges.

c. I legally claim that the fruit selection was sub par.

150. 1 legally claim that, all of the Government, or Private Facilities that I have served time in, are not
up to modern day / realistic standard(s).

151. 1 legally claim that,(150) is directly connected,(standards[s)]) to My legal claim(s).

152. 1 legally claim that, I contracted Asthma,from a Pneumonia phase(6 times), after falling into a
ditch of cold water, I walked home around 1.62 miles, in the colder Virgina weather season that it
happened in (date and time unknown at the moment).

    a. The ditch (at a church where My Mom was one of the Property Keeper's) was full, and, I
       was egged on my my older (legally claimed non-blood-related "sister" < [legal claim]) this
         was the first contraction of the sickness.
    b. The neighbourhood along the road from the church {did not help me}, they legally claimed
       that they did not see me with Her ^ , and My Biological Mother.

153. 1 legally claim that, I did not have Asthma before I caught Pneumonia.

154. 1 legally claim that, I am legally deaf, and that(the legally claimed non-blood- related-child (152,
the "Sinister") made a fool but 2 times, and [152] is one event, and the next legal claim is the last
event.


    a. I legally claim Negligence / Conspiracy / and an Act of War (against, on) Me, by, Manuel
       Torres Jr. '^*1®'*, lineage, name repetition, non-title'^ [Suspect] "The United States Navy"
       [Suspect(s)] and the Chain Of Command [Suspect(s)]# and Anyone else connected to /
         too#.
    b. I legally claim that, I was underaged to be on the USS John C. Stenus Air Craft Carrier for
       the "Day Cruise Event and Aircraft Demo".
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                                 ^3 o( Ti
c. I legally claim and, I ask that the Court recognise that the parties of +152,155 + be seen as
   a means of providing historical evidence, and facts, but not as Defendant(s) in this legal
   claim of already legally claimed party / parties of Defendant(s).
d. I legaliy claim that I am an IQ Level multilevel Genius.
e. I legally claim that I am Pianet Earth's Most lucrative Artist living / arguably of all time (in
   many disciplines, based on originality and style, and original-Style- creation).
f. I legaily ciaim that, this was used as a to justify Me being on board The Ship.
g. i iegaliy claim that an unknown percentage of the legaily claimed negligent party(ies) of this
   event acted against me with an Act of War and Espionage on this day (154).
h. I legaily claim the Sinister child exploited My iast day of any guliibie quality i had left in Me.
   But! I am 0% convinced of my own error mixed with chemical sabotage {day of}...
i. I legally claim that, the Sinister worked with '^Torres Jr. 1®^ based on the way that the day
   went before "i deafened myself by getting tricked"(chemicaliy poisoned) into taking my
   hands off my ears(<1% ^)[Brain Washing, Chemical Memory Disruption / Dream Torcher].
j. But! I was deafened by the Sinister, who ripped my hands off my ears, because she ended
   up deaf too. I iegaliy claim that I am 100% sure it was a direct sabotage by the Sinister
    _ripped arms down from ears_.
k. Because I thought she was stupid for even suggestion to do it herself to be "Pretty" like some
   older Deaf Girl [15-17 years old estimated (by the name of,"Dawn" possibiy #99% sure of the
   oider girl's name#]from one or two houses to the right of My House.
I. I iegaliy claim that I told her not to because she "would get into big trouble too" and that
    "she could die if she did"
m. I iegaliy ciaim I was aimost directly in front of the take off of the F16 or F17 because of My
    Talent and Status.
n. I legally claim that, the Sinister Party was not tolerating the way that I was holding my fingers
   in my ears,"more like a professional than others". I started early from excitement %age%
   and I was really pressing hard in them because of how dangerous the take off"Sonic Boom"
    is.
0. I can remember the Sinister Party throwing one more temper tantrum about it to '^Torres Jr.
   1®*^ , it was so unsightly and loud I heard it with my ears pre-plugged-extra-hard, so I looked,
   and unplugged my ears to see it.
p. I turned back around to face the Jet and plugged my ears up extra-hard and I closed my
   eyes. ^ Torres Jr. 1®"^ had to be extra stern about the time limit of the launch to focus the
    Sinister.
q. I was deafened at a percentage of the "Sonic Boom".
r. i legally claim that I felt my arms get ripped down at that time, I blacked out for a hundredth
    of a second.
s. I turned around to the Sinister with one of the most Evil and Satanic looks on Anyone's face,
   that I have ever seen, to this day,from birth,
t. I iegaliy claim that'^Torres Jr. 1®*^, and an Evil Conglomerate, of a a percentage of
   members or the entire population of existing- Empires(unknown), Actual Royal
   Countries( confirmed through Generai Populous[U.S.A.] gossip, 28 years of iistening for the
   sake of my own story) and from the top ievei of weaith to the poorest people they employ
   against me(from The Global General Populous),
u. I legally claim that, I legally request that, this Evil Conglomerate \154\ to not be recognised
   as Defendant(s)/ or as the Defendant(s) are, who are connected to to the settlement dollar
   amount |4| and the legal claims connected to |4i only as a means unrelated legal claim(s) for
   background and for historical connection as well—.
V. I legally claim that this Evil Conglomerate<collection of people,from different places, who
   share divide profits [personal definition of title, due to no knowledge of the actual legal term,
   for what they represent, or are, in formation against Me]< even announced that they would
   "Hold Me as their Prisoner, and torcher me until the day I died" for not siding with their legaiiy
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                                        ^ "-f .e
        claimed 'Evil Ways'•Satanic, known*'^Torres Jr. 1®** was chosen to vocalise it to me in my
        last days before I was replaced with an exact physical copy of Myself,
     w. I legally claim that this was before a theme park trip,(park unknown. Possibly Bush Gardens
        or King's Dominion, whichever. They (Parks) are close to Virginia.
     X. I legally claim that I punched the person who was holding me for some reason >Julio
        Hernandez> and, I left a serious mark on his face for my age •4-5-6.5 years old* post
         announcement by '^Torres Jr. 1®^.
     y. I legally claim that, the Evil Conglomerate had Advanced Hearing Aide Implants put into me
       after the main event of{154})}.
    z. I legally claim that, this was done #Aides# in order to steal my thoughts, ideas, and to
         physiologically torcher me with,
    aa. I legally claim that, this Evil Conglomerate uses this technology along with brain control
       chemicals to control me, but only while I am asleep [torcher, thieving, awake],
     bb. I legally claim that they can make me do whatever they want on these legally claimed brain
        control mixture(s).
    cc. I legally claim that, this Evil Conglomerate has brain washed Me and that I barely have a
        memory of 99.99% of what they have done to me in my sleep %<2 seconds or less a week
        on average%.
    dd. I legally claim that the memories(during sleep), have rarely ever mirrored My true 'Self,
    ee. I legally claim that the experience of time, can be manipulated by things that apply to *legal
        claim(s) 154, Dream control/disruption. Mind control/ disruption, Brain washing. Chemicals,
        Ear (control, partial destruction, disruption)/ Brain implants ^

155. 1 legally claim that, I even gave her (legally claimed Sinister, non-blood-related), a Four Leaf
Clover [right after I found it, and then thought about it, even though, I could have kept it for myself, or
given it to a Girl who I thought was pretty [Present Party] who was there.
a. But, I thought, that, I would rather show that, I was a good person to try to change the attitude of
(Sinister'^) buy gifting it, instead of giving to, Her»»»»»>,[the Pretty Girl], to try to change
how (the Sinister) acted as a whole {because of the worth, of the variety, of the Plant #Four Leaf
Clover, Clover# and it's rumoured            %magical %luck% trait%}the child with the legally claimed
sinister quality my^legally claimed 100% ^Sinister*^ started to cause a rage filled scene, as she was
already demanding +The Four Leaf Clover+ upon My first, and only announcement of discovery.
b. That =rage filled scene= also was part of My decision, 1®^ and foremost, my thought was preserve
the safety of The Pretty Girl, and the Two to Three other Children at the event.

156. 1 legally claim that, I do not have a record of any of the dates of the legal claims(152,154,
155).

157. 1 legally claim that, the order of the last 2 events(154, 155) are not in chronological order,
(152) did come first.

158. 1 legally claim that, the Sinister Party mentioned above, was always violent towards Me.

159. 1 Legally claim that the Defendant(s) have knowledge of(152,154,155)to any percent[0%-
100%].

a. I legally claim this based on the existence of"Permanent Record Keeping System".

160. 1 legally claim that, the Defendant(s) where instructed to not acknowledge that I am deaf,

    a. I legally claim that the Defendant(s), did not, after I verbalised it on several occasions.
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                                      Q ^ a ^-2 \
     b. The second legal claim is what prompted my first legal claim, and it is another legal claim, to
prove my overali legai ciaim(s), related to [4].

161. 1 legally claim that, My iife-slowing-scale-paln-management -treatment was also neglected and
discriminated against.

    a. I legally claim that I woke up at the very least 3 nights in a row where my feet were so
       inflamed that I could not walk very well down the hall and back for food, all times were out of
       my rest at night.
    b. i iegaliy claim that, I am prescribed medicinai marijuana for my pain, and that, i was denied
       it by the Defendant(s).
    c.   I legaily ciaim that, I do not know if my medicinai marijuana claim holds any weight in
         Federal Court.
    d.   I legally claim that I requested opioids in its' stead.
    e.   i iegaliy claim that request was denied too.
    f. I legally claim a spine injury patient (cane), and a younger tan skinned man had opioid
       prescriptions, so the hospitai did not, not give opioids out to prescribed patients.
    g. I Iegaliy claim I was denied a verbai request for opioid evaluation to replace my medicinal
       marijuana.
    h. This, since Dr. Thomas said that he couid not prescribe Me them, to replace my medicinal
       marijuana.

162. 1 Iegaliy claim that, other patients had jewellery, and watches on, but I was only allowed a
watch, and my hat was taken due to metal clasps(ok protocol, but still, it is just as much of a danger
risk as jeweilery). i am blessed, that my rights to have a watch ap a government prisoner is stiii a
preserved freedom.

a. I legally claim that, the last sentence does not forgive anyone of anything done to me in this
claim{s}.

163. 1 legaily claim that I have not smoked cigarettes since January 21, 2020.

a.i legaily claim it is the right thing to do for the Globe(Everyone, Everything).

164. 1 Iegaliy claim that, i have not Drank Alcohoi since October 31,2015 (scientific reasons).

165. 1 legaily claim that, i have never had any type(s) of dependance or problem(s) (163 cigarettes,
or 164 alcohol).

166. 1 legally claim that, all negative statement(s), against me by the Defendant[s] are false.

167. 1 legally claim that, ali positive statements made about Me are true.

168. 1 legally claim that. Any person if any Person, of any Religion legally claims suffrage to a Main
pillar of their Spirituality |4| should be the minimum dollar amount to thwart the Evil of— Main Faith
Pillar discrimination.

169. 1 legaily claim that,'Main Faith Pillar' discrimination applies to all Religion#s#.{U.S.A.}
a. I legally claim Satanism is NOT a Reiigion, due to crimes against humanity for the past(4,022
years) B.C.-A.D. 2000 B.C.- 2022 A.D.

170. 1 legally claim that, concrete evidence, and a credible and believable, list of legal claims would
be needed to prove this, just as any other Court Case.
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                                     C o •(?

 171. 1 legally claim that My legal claim(s) have the qualit[y]{ies} of(170).

 172. 1 legally claim that the minimal dollar amount described in |4| acts as an insurance "For the
 People" against what my legal claim(s) are related to.

 173. 1 legally claim that, the dollar amount |4| is intended to thwart all types of discrimination and
 neglect.

 174. 1 legally claim that, I can provide My legally claimed concrete evidence upon request, due to.
 My In Forma Pauperis ruling.

175. 1 legally claim that, my legal claim(s) have shown enough proof to settle My claim(s) with a
numeric figure, no lower than the Dollar amount in, |4|, in, or outside of Federal Court.

176. 1 legally claim that, a decision, in my favour, would be made, Sua Sponte, or, Sua Motu, in, or
outside of Federal Court.

177. 1 legally claim that, any Amendment of the Constitution, or any Private, or Government
reference(d)(s) against my legal claim(s), or My Name; by the Defendant(s) or, by. Representatives
of the Defendant(s), are all Fugazi... based on my legal claim(s) that are all easily proven with
official record(s), where it is applicable, to My legal claim(s).

178. 1 legally claim that, my life was directly verbally threatened by the number of. Four Patients.

    a. I Legally claim that, I reported every one of those threat(s).

    b. I legally claim one patient, was named "Matthew Pfizer", He legally claimed that he was
       there for murder of someone who looked like me(post intentionally picking a seat in front of
       me 3 tables away in the cafe) and that "everyone who looked like Him would kill everyone
       who looks like You (Me)", for, what I made out as, "disrespecting his families Name" as the
        reason.
    c. He even stated that he was there for murder on 4-5 occasions around me on the "phone" to
       his "lawyer". He ended up getting transferred after I had discovered evidence of him eating
       stool mixed with food, I suspect this because it was mixed with food products, in a water cup,
        and there was stool
on the sink, and his behaviour was becoming more aggressive(Two fights with the the same
(Chocolate Skin Toned Man)and odd every day until he was transferred to a children's unit shorty
after he ruined the bathroom with his stool incident.
    d. I legally claim that, He seemed over 18 years old to me.

179. 1 legally claim that, I have no comment on how the Defendant(s) handled (178).

180. 1 legally claim that, skin tone(s) are base colour(s), to the lightest coloured shades of the base
colour(s)/ and %s of Black and White base colour.(Universal legal claim)

181. 1 legally claim that my entire criminal File is Fugazi, to this date.

182. 1 legally claim that, only good statements about me in any Government file(s) are true.

183. 1 legally claim that, my legal claim(s) have displayed the right amount of intelligence to support
the legal claim(s) that I have made against the Defendant(s).
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                               -LI
184. 1 legally claim that, the Liberty of Every American, and Global Citizen, is at a higher risk, with,
any Defendant(s) connected, directly, or historically, being allowed to trample on Liberty in any way
that; I have legally claimed they have.

185. 1 legally claim that, the Ambulance that brought me to Fuller Hospital, smelled like: 'peanut
butter and jelly sandwiches', in an,"everywhere on everything, non-sanitary smell way", {[I legally
claim that, it had nothing to do with the Crew's hygiene at all.]}".

186. 1 legally claim that, I have been sexually discriminated against for being 100% sexually oriented
towards women/100% Male, but I am, inter-gender(preferred term Genetic Mutant, it is just a
mutation and extra flesh to me).

    a. A set off-unit Defendant(s) were at the front desk (only 1), made a comment, after I legally
       claimed to them that, "I am "inter-gender and that I was being discriminated against, and he
       walked me down into the mens unit, and then he shut the main doors ~a decent amount of
       words were exchanged, between Myself, and the Defendant(s), until the Defendant then
       used his body weight and size, with heavy violent undertones(body language) "intimidate"
        me"
   b. I legally claim that, I kept a very respectful amount of space to His pace, and approach.
   c. I legally claim that, I tried to diffuse this situation, as best, and as quickly, as I could.

187. 1 legally claim that I believe in one God and the Three Persons within Him, God The Father,
The Holy Spirit, and Jesus Christ His only Begotten Son.

188, 1 legally claim that there is one God,(187)and that. He is the only God, Who created everything
we know, and do not know.

189. These are all my legal claims.

190. Thank You (pi.).
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IV.       Belief


          State briefly and precisefy what damages or other reliefthe plaintiffasks the court to order. Do not make legal
          arguments, fachide any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts ofany actual damages claimed for the acts alleged and the basis for these amounts, iiclude any
          punitive or exemplaiydamages claimed,the amounts,and the reasons you claim you are entitled to actualor
          punitive money damages.




V.       Certification and Qosing

         Uhder Federal Rule ofCivil Procedure 11,by signing below,Icertify to the best ofmy knowledge,information,
         and beliefthat this complaint:(1)is not being presented for an improper purpose,such as to harass, cause
         unnecessaiy delay, or needlessfy increase the cost oflitigation;(2)is supported by existing law or by a
         nonfiivolous argument for extending, modifying,or reversing existing law;(3)the fectual contentions have
         evidentiaiy support or,ifspecifically so identified, will likefy have evidentiary support after a reasonable
         opportunityfor further investigation or discovery;and(4)the complaint otherwise complies with the
         requirements ofRule 11.

         A.        BbrFarties Without an Attorney

                   Iagree to provide the Qerk's Office with any changes to my address where case-related papers may
be                 served. I understand that myfoihire to keep a current address on file with the Qerk's Office may result
                   in the dismissal ofmy case.

                   Date ofs^ing:


                   Signature ofPlaintiff
                   Printed Name ofPlaintifif                                                     "TS

        E          FarAttoraeys

                  Dute ofsigning:


                  Signature ofAttorney
                  Printed Name ofAttorney
                  Bar Number

                  Name oflaw Firm



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                    Street ^dress
                    State and Zip Gbde
                   Telephone Number
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